           Case 1:17-vv-00992-UNJ Document 59
                                           56 Filed 01/10/20
                                                    12/11/19 Page 1 of 2




    In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-0992V
                                      (not to be published)


    PATRICIA PENDERGRASS,
                                                             Chief Special Master Corcoran
                         Petitioner,
    v.                                                       Filed: December 11, 2019


    SECRETARY OF HEALTH AND                                  Special Processing Unit                (SPU);
    HUMAN SERVICES,                                          Attorney’s Fees and Costs


                        Respondent.


Leah VaSahnja Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for
Petitioner.

Robert Paul Coleman, III, U.S. Department of Justice, Washington, DC, for Respondent.

                       DECISION ON ATTORNEY’S FEES AND COSTS 1

       On July 24, 2017, Patricia Pendergrass (“Petitioner”) filed a petition for
compensation under the National Vaccine Injury Compensation Program, 42 U.S.C.
§300aa-10, et seq., 2 (the “Vaccine Act”). Petitioner alleges that she suffered from a
shoulder injury related to vaccine administration (“SIRVA”) as a result of receiving an
influenza vaccine in her left shoulder on November 9, 2016. (Petition at 1). On April 16,
2019,    a decision was issued by then-Chief Special Master Dorsey awarding
compensation to Petitioner based on the Respondent’s proffer. (ECF No. 49).

1 Because this unpublished ruling contains a reasoned explanation for the action in this case, I am required
to post it on the United States Court of Federal Claims' website in accordance with the E-Government Act
of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic Government
Services). This means the ruling will be available to anyone with access to the internet. In
accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact medical or other
information, the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, I
agree that the identified material fits within this definition, I will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
          Case 1:17-vv-00992-UNJ Document 59
                                          56 Filed 01/10/20
                                                   12/11/19 Page 2 of 2




       Petitioner has now filed a motion for attorney’s fees and costs, dated November
15, 2019, (ECF No. 54), requesting a total award of $29,238.54 (representing $26,900.60
in fees and $2,337.94 in costs). In accordance with General Order #9, Petitioner filed a
signed statement stating she incurred no out-of-pocket expenses. (Id. @ 2). Respondent
reacted to the motion on December 2, 2019 indicating that he is satisfied that the statutory
requirements for an award of attorney’s fees and costs are met in this case and defers to
the Court’s discretion to determine the amount to be awarded. (ECF No. 55). Petitioner
did not file a reply thereafter.

       I have reviewed the billing records submitted with Petitioner’s request. In my
experience, the request appears reasonable, and I find no cause to reduce the requested
hours or rates.

       The Vaccine Act permits an award of reasonable attorney’s fees and costs. §
15(e). Accordingly, I hereby GRANT Petitioner’s Motion for attorney’s fees and costs. I
award a total of $29,238.54 (representing $26,900.60 in fees and $2,337.94 in costs) as
a lump sum in the form of a check jointly payable to Petitioner and Petitioner’s counsel.
In the absence of a timely-filed motion for review (see Appendix B to the Rules of the
Court), the Clerk shall enter judgment in accordance with this decision. 3

IT IS SO ORDERED.

                                                      s/Brian H. Corcoran
                                                      Brian H. Corcoran
                                                      Chief Special Master




3 Pursuant to Vaccine Rule 11(a), the parties may expedite entry of judgment by filing a joint notice
renouncing their right to seek review.
                                                 2
